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                        Exhibit A


                     TIME DETAIL
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May 9, 2023                                                                                     Invoice       5764708
                                                                                                Tax ID        XX-XXXXXXX

GigaMonster Networks, LLC et al.
350 Franklin Gateway, Suite 300
Marietta, GA 30067




                                                           Invoice Summary

Client                 Official Committee of Unsecured Creditors of GigaMonster
                       Networks, LLC et al.
Matter                 In re GigaMonster Networks, LLC et al.
Matter ID              527983.000001


For professional services rendered and disbursements incurred through April 30, 2023


Services                                                                                                        58,973.50

Disbursements                                                                                                        9.20

Invoice Total                                                                                             $     58,982.70

                                                       Due and Payable Upon Receipt
                                                                Thank You
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May 9, 2023                                                                                           Invoice       5764708
                                                                                                      Tax ID        XX-XXXXXXX

GigaMonster Networks, LLC et al.
350 Franklin Gateway, Suite 300
Marietta, GA 30067




                                                              Invoice Detail

Client                 Official Committee of Unsecured Creditors of GigaMonster
                       Networks, LLC et al.
Matter                 In re GigaMonster Networks, LLC et al.
Matter ID              527983.000001


For professional services rendered and disbursements incurred through April 30, 2023

Professional Services

               Task: B110 Case Administration

 Date          Name                          Hours Description
 04/01/23      J. Marasco                     0.10 Review bar date motion.
 04/04/23      J. Marasco                     0.30 Call with D. Bertenthal and R. Bernard regarding case update.
 04/04/23      R. Bernard                     0.40 Call with Debtors’ counsel regarding case updates.
 04/04/23      B.A. Olivere                   0.20 Review and evaluate incoming pleadings; circulate to working group
 04/10/23      B.A. Olivere                   0.10 Review and evaluate incoming pleadings; circulate to working group
 04/12/23      R. Bernard                     0.50 Discuss e-discovery support needs with J. Marasco.
 04/12/23      J. Marasco                     1.90 Confer with P. Jackson (0.1)/call with R. Bernard (0.3) regarding e-discovery
                                                   matters and Barings negotiations; diligence and correspondence regarding same
                                                   (0.4); review correspondence with C. Bryant regarding NDA (0.1);
                                                   correspondence/call with T. Cairns and M. Caloway regarding debtor production
                                                   issues (0.3); compose update email to R. Bernard regarding same and prepare
                                                   modified communications searches (0.3); related correspondence with T. Cairns
                                                   (0.2); correspondence with potential e-discovery vendor regarding engagement
                                                   terms and pricing (0.2).
 04/12/23      J. Marasco                     0.40 Call with R. Bernard regarding sale and claims matters and fee applications.
 04/12/23      B.A. Olivere                   0.20 Review and evaluate incoming pleadings; circulate to working group
 04/13/23      J. Marasco                     0.10 Correspondence with e-discovery vendor regarding engagement.
 04/14/23      B.A. Olivere                   0.10 Circulate agenda for 4/18/23 hearing to working group
 04/14/23      B.A. Olivere                   0.20 Review and evaluate incoming pleadings; circulate to working group
 04/17/23      J. Marasco                     0.20 Email T. Cairns and M. Caloway regarding revised search terms in connection
                                                   with communications production (0.1); review correspondence with C. Bryant
                                                   regarding status of NDA (0.1).
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 Date          Name                         Hours Description
 04/17/23      B.A. Olivere                  0.10 Review and evaluate incoming pleadings; circulate to working group
 04/17/23      B.A. Olivere                  0.10 Circulate amended agenda for April 18, 2023 hearing
 04/18/23      R. Bernard                    1.50 Attend hearings on various motions (.5); review certifications of counsel for
                                                  changes to the forms of order for bar date, rejection procedures, and de minimis
                                                  asset sale/abandonment (1.0).
 04/18/23      B.A. Olivere                  0.50 Review and evaluate incoming pleadings (.4); circulate to working group (.1).
 04/18/23      J. Marasco                    0.10 Correspondence regarding NDA with Barings and review same.
 04/19/23      J. Marasco                    0.10 Review bar date order and calendar relevant bar dates.
 04/20/23      J. Marasco                    0.10 Attention to Barings NDA.
 04/21/23      B.A. Olivere                  0.10 Review and evaluate incoming pleadings; circulate to working group
 04/24/23      J. Marasco                    0.10 Correspondence with T. Cairns regarding status of anticipated debtor production.
 04/24/23      J. Marasco                    0.20 Correspondence with R. Winning regarding status of diligence in connection with
                                                  monthly spend on other assets maintenance and anticipated rejection damage
                                                  claims.
 04/24/23      B.A. Olivere                  0.30 Review and evaluate incoming pleadings (.2); circulate to working group (.1)
 04/25/23      J. Marasco                    0.30 Review e-discovery specifications from E. Brady in connection with forthcoming
                                                  production and correspondence with e-discovery team regarding same (0.2);
                                                  correspondence with C. Bryant regarding executed NDA (0.1).
 04/26/23      B.A. Olivere                  0.10 Review and evaluate incoming pleadings; circulate to working group
 04/26/23      J. Marasco                    0.40 Attention to e-discovery specifications and related correspondence with E. Brady
                                                  (0.2); correspondence with R. Bernard and C. Bryant regarding extension of
                                                  challenge period (0.2).
 Total B110                                  8.70

               Task: B120 Asset Analysis and Recovery

 Date          Name                         Hours Description
 04/01/23      J. Marasco                    0.80 Attention to debtors' production of documents and compose email to internal team
                                                  regarding same (0.3); related correspondence with K. Kistinger regarding
                                                  document review and work flow in connection with adversary complaint (0.5).
 04/01/23      P. A. Jackson                 0.10 Emails with J. Marasco re: draft complaint against Barings et al.
 04/03/23      R. Bernard                    2.10 Review and revise draft complaint (1.8); review and revise letter to prepetition
                                                  lender’s counsel included with complaint (.3).
 04/03/23      J. Marasco                    2.10 Review operating agreements and related correspondence with P. Jackson
                                                  regarding D&O claims analysis in connection with draft adversary complaint (0.3);
                                                  attention to insider payments analysis and email T. Cairns regarding same (0.2);
                                                  diligence in connection with adversary complaint and compile exhibits (1.4); confer
                                                  with P. Jackson (0.1)/call with R. Bernard regarding same (0.1).
 04/04/23      J. Marasco                    5.00 Review and incorporate R. Bernard comments to demand letter and adversary
                                                  complaint against Barings and related correspondence with R. Bernard (4.8);
                                                  coordinate file transfer from debtors in response to supplemental diligence
                                                  requests (0.2).
 04/04/23      P. A. Jackson                 0.30 Emails with R. Bernard, J. Marasco re: draft complaint against Barings
 04/04/23      R. Bernard                    0.50 Discuss revisions to draft complaint with J. Marasco.
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 Date          Name                         Hours Description
 04/05/23      J. Marasco                     1.00 Finalize adversary complaint and cover letter (0.8); various related
                                                   correspondence with R. Bernard regarding transmittal and email Committee
                                                   members regarding same (0.2)
 04/06/23      P. A. Jackson                  0.50 Call (partial) with R. Bernard, J. Marasco, R. Winning re: Barings adversary
                                                   proceeding strategy
 04/06/23      P. A. Jackson                  0.10 Review emails from R. Bernard re: transmittal of complaint to Barings, initial
                                                   response
 Total B120                                  12.50

               Task: B130 Asset Disposition

 Date          Name                         Hours Description
 04/06/23      J. Marasco                     0.10 Correspondence with Debtors' counsel regarding Texas taxing authority
                                                   stipulation in connection with sale and review same.
 04/12/23      J. Marasco                     0.10 Review correspondence from C. Bryant regarding comments to APA on "other
                                                   assets" sale.
 04/18/23      J. Marasco                     0.10 Correspondence with T. Cairns regarding status of APA for "Other Assets" sale.
 04/18/23      R. Bernard                     2.60 Review draft asset purchase agreement and draft transition services agreement
                                                   with MC (2.2); call with MC and MC’s counsel (.4).
 04/19/23      J. Marasco                     0.10 Email R. Winning regarding monthly maintenance costs for properties subject to
                                                   MC "other assets" sale.
 04/20/23      R. Bernard                     2.40 Review revised MC asset purchase and transition services agreements (2.2);
                                                   email with Debtors’ counsel regarding comments to agreements (.2).
 04/21/23      J. Marasco                     0.10 Review correspondence with D. Bertenthal regarding Committee comments to
                                                   "Other Assets" APA
 04/26/23      J. Marasco                     0.20 Review correspondence with debtors regarding Committee comments to "Other
                                                   Assets" APA with MC.
 04/26/23      J. Marasco                     0.10 Correspondence with R. Gruber regarding Committee comments to MC APA for
                                                   "Other Assets"
 04/26/23      R. Bernard                     3.30 Review latest versions of the MC asset purchase and transition services
                                                   agreements (2.7); propose revised language (.6).
 04/27/23      J. Marasco                     0.10 Review correspondence with debtors and Barings regarding Committee
                                                   comments to MC APA for "Other Assets"
 04/27/23      R. Bernard                     1.30 Email with counsel for MC, Debtors, and Barings regarding additional comments
                                                   to asset purchase and transition services agreement with MC, including review of
                                                   redlined documents.
 04/28/23      R. Bernard                     0.70 Email with counsel for MC, Debtors, and Barings regarding final comments to
                                                   asset purchase and transition services agreements with MC, including review of
                                                   final revisions.
 Total B130                                  11.20

               Task: B150 Meetings of and Communications with Creditors

 Date          Name                         Hours Description
 04/04/23      J. Marasco                    0.20 Call R. Winning in connection with standing Committee call (0.1); prepare and
                                                  circulate agenda for standing Committee call (0.1).
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 Date          Name                         Hours Description
 04/05/23      J. Marasco                    1.20 Correspondence with R. Bernard regarding standing Committee call and status of
                                                  adversary complaint (0.1); prepare for (0.3) and participate in standing Committee
                                                  call (0.3); prepare Committee meeting minutes (0.5).
 04/05/23      R. Bernard                    0.40 Attend Committee meeting (.3); email update to Committee members that could
                                                  not attend meeting (.1).
 04/10/23      J. Marasco                    0.20 Attention to status of outstanding matters to prepare agenda for April 12
                                                  committee call and related correspondence with R. Bernard.
 04/12/23      P. A. Jackson                 0.50 Attend committee meeting with J. Marasco, R. Bernard, R. Winning
 04/12/23      J. Marasco                    0.70 Prepare for (0.1) and participate in weekly Committee meeting (0.4);
                                                  correspondence with counsel to service provider on properties subject to "other
                                                  asset" sale regarding case status (0.2).
 04/12/23      R. Bernard                    0.70 Prepare for call with Committee (.3); attend Committee meeting (.4).
 04/14/23      J. Marasco                    0.50 Prepare meeting minutes for April 12 Committee meeting.
 04/18/23      R. Bernard                    0.20 Email committee the court’s revisions to the rejection procedures motion.
 04/18/23      J. Marasco                    0.30 Attention to outstanding diligence items, prior correspondence, and call notes to
                                                  prepare agenda for April 18 Committee meeting.
 04/18/23      J. Marasco                    0.10 Review committee update regarding revised rejection procedures.
 04/19/23      J. Marasco                    1.40 Participate in weekly Committee meeting (0.4) and prepare meeting minutes (0.5);
                                                  correspondence with R. Bernard and counsel to Equinix, Zayo, and M3 regarding
                                                  execution of Barings NDA and compile same (0.5)
 04/19/23      R. Bernard                    0.40 Attend committee meeting.
 04/21/23      J. Marasco                    0.10 Correspondence with Committee members regarding Barings NDA.
 04/24/23      J. Marasco                    0.20 Prepare meeting agenda for April 25 Committee meeting and correspondence
                                                  with R. Bernard regarding same.
 04/25/23   J. Marasco                       0.10 Review R. Bernard Committee update regarding case status.
 04/25/23   R. Bernard                       0.50 Email to Committee of bar date notice and case status report.
 Total B150                                  7.70

               Task: B155 Court Hearings

 Date          Name                         Hours Description
 04/18/23      B.A. Olivere                  0.10 Circulate second amended agenda for April 18, 2023 hearing
 04/18/23      B.A. Olivere                  0.10 Register R. Bernard and J. Marasco for 4/18/23 hearing
 04/18/23      J. Marasco                    0.90 Correspondence regarding status of April 18 hearing and coordinate appearances
                                                  for same (0.1); attend hearing on rejection procedures, miscellaneous asset sales,
                                                  and bar date motion (0.4); prepare hearing notes and correspondence with R.
                                                  Bernard regarding same (0.4).
 Total B155                                  1.10

               Task: B160 Fee/Employment Applications

 Date          Name                         Hours Description
 04/03/23      J. Marasco                    0.10 Correspondence with E. Steele regarding March invoice for second monthly fee
                                                  application.
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 Date          Name                         Hours Description
 04/06/23      J. Marasco                    1.20 Review exhibits in connection with second monthly fee application and related
                                                  correspondence with E. Steele.
 04/12/23      B.A. Olivere                  0.40 Draft certificate of no objection regarding first fee application of Faegre Drinker
                                                  Biddle & Reath
 04/12/23      J. Marasco                    0.20 Review CNO in connection with FDBR first monthly fee application and related
                                                  correspondence with B. Olivere.
 04/13/23      B.A. Olivere                  0.20 Finalize for filing certificate of no objection re first fee application of Faegre Drinker
 04/13/23      B.A. Olivere                  0.30 Draft certificate of no objection re M3 Advisory's first fee application
 04/13/23      J. Marasco                    0.90 Correspondence with R. Bernard and P. Jackson regarding Faegre Drinker first
                                                  monthly fee application (0.1); review exhibit in connection with Faegre Drinker
                                                  second monthly fee application and related correspondence with E. Steele and R.
                                                  Bernard (0.6); compose email to R. Winning regarding M3 first and second
                                                  monthly fee applications (0.1); correspondence with Debtors counsel regarding
                                                  CNO on Faegre Drinker first monthly fee application (0.1).
 04/14/23      J. Marasco                    0.10 Review CNO on M3 first monthly fee application and related correspondence with
                                                  B. Olivere.
 04/17/23      J. Marasco                    0.10 Email R. Winning regarding CNO on M3 first monthly fee application and request
                                                  for invoice for second monthly fee application.
 04/17/23      B.A. Olivere                  0.30 Finalize for filing certificate of no objection re M3 Advisory Partners first fee
                                                  application
 04/18/23      R. Bernard                    0.40 Review March 2023 invoice.
 04/19/23      J. Marasco                    0.20 Various correspondence with P. Jackson, R. Bernard, and E. Steele regarding
                                                  Faegre Drinker first monthly fee application.
 04/21/23      J. Marasco                    1.10 Correspondence/calls with B. Olivere regarding Faegre Drinker second monthly
                                                  fee application (0.3); correspondence/call with R. Bernard regarding same and
                                                  circulate invoice to Committee (0.2); prepare exhibits to Faegre Drinker second
                                                  monthly fee application and review and finalize same for filing (0.6).
 04/21/23      B.A. Olivere                  0.20 Call with J. Marasco re second monthly fee application of Faegre Drinker
 04/21/23      B.A. Olivere                  1.90 Draft second monthly fee application of Faegre Drinker for March 2023
 04/21/23      B.A. Olivere                  0.40 Finalize for filing and coordinate service of second fee application of Faegre
                                                  Drinker for March 2023
 04/21/23      B.A. Olivere                  0.10 Read and respond to email re drafting of second fee application of Faegre Drinker
 04/26/23      B.A. Olivere                  0.40 Create fee index chart for preparation of interim fee requests and required
                                                  supplemental
 04/26/23      B.A. Olivere                  2.20 Draft notice of interim fee request of official committee professionals for the first
                                                  interim fee period
 04/26/23      J. Marasco                    0.20 Confer with B. Olivere regarding first interim fee applications and call R. Winning
                                                  regarding same.
 04/27/23      B.A. Olivere                  0.20 Edit, review and revise first interim fee request of committee professionals
 04/28/23      J. Marasco                    0.70 Review Committee professionals first interim fee application (0.1) and calls (2x)
                                                  with B. Olivere regarding same (0.2); review interim comp order and compose
                                                  email to R. Winning regarding Committee professionals first interim fee application
                                                  (0.3); correspondence regarding same (0.1).
 04/28/23      B.A. Olivere                  0.10 Confer with J. Marasco re first interim fee request of committee professionals
 04/28/23      B.A. Olivere                  0.20 Edit and revise first interim fee application based upon comments received
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 Date       Name                            Hours Description
 Total B160                                  12.10

               Task: B190 Other Contested Matters

 Date          Name                         Hours Description
 04/06/23      J. Marasco                    1.00 Correspondence with R. Bernard regarding Barings response to draft adversary
                                                  complaint and opening of potential negotiations (0.1); review correspondence from
                                                  C. Bryant regarding potential extension of challenge period and internal
                                                  correspondence regarding same (0.2); strategy call with R. Winning, R. Bernard,
                                                  and P. Jackson regarding Barings negotiations (0.6); review follow-up
                                                  correspondence with C. Bryant regarding same (0.1).
 04/06/23      R. Bernard                    0.80 Email with C. Bryant and others regarding extension of challenge period and
                                                  production (.3); call with J. Marasco, P. Jackson, and R. Winning to discuss
                                                  strategy about Barings (.5).
 04/07/23      R. Bernard                    0.40 Call with Barings’ counsel regarding negotiation and discovery process.
 04/10/23      J. Marasco                    1.20 Update call with R. Bernard regarding status of Barings discussions in connection
                                                  with demand (0.4); correspondence with C. Bryant regarding status of NDA (0.2);
                                                  analyze Barings attorneys fees, revise adversary complaint, and email R. Bernard
                                                  regarding same (0.5); email Debtors' counsel regarding status of supplemental
                                                  production (0.1).
 04/10/23      R. Bernard                    0.70 Call with J, Marasco regarding status of Barings’ production and settlement
                                                  discussions (.5); email with Barings’ counsel regarding production (.2).
 04/11/23      R. Bernard                    0.80 Review and revise draft confidentiality agreement with Barings.
 04/12/23      P. A. Jackson                 0.10 Emails with J. Marasco re: engagement of e-discovery vendor to process Barings
                                                  production
 Total B190                                  5.00

               Task: B310 Claims Administration and Objections

 Date          Name                         Hours Description
 04/18/23      J. Marasco                    0.10 Diligence and correspondence with R. Winning regarding claims pool in
                                                  connection with potential plan discussions.
 Total B310                                  0.10

               Task: B320 Plan and Disclosure Statement

 Date          Name                         Hours Description
 04/11/23      R. Bernard                    0.50 Work on wind down budget for plan process.
 04/11/23      J. Marasco                    0.30 Correspondence with C. Bryant regarding Committee/Barings plan discussions
                                                  and related correspondence with R. Bernard and P. Jackson (0.1); review revised
                                                  NDA from Barings and related correspondence with R. Bernard (0.2).
 04/12/23      P. A. Jackson                 0.60 Call with R. Bernard, J. Marasco, Barings counsel re: plan negotiations
 04/12/23      J. Marasco                    0.60 Call with R. Bernard, P. Jackson, C. Bryant and P. Van Tol regarding potential
                                                  plan provisions in connection with settlement.
 04/12/23      R. Bernard                    1.60 Prepare a list key plan terms for discussion with Barings’ counsel (1.1); meet with
                                                  Barings’ counsel regarding plan outline (.5).
 04/17/23      R. Bernard                    0.20 Email with C. Bryant regarding confidentiality agreement.
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 Date            Name                       Hours Description
 04/19/23        J. Marasco                  0.70 Correspondence with Barings regarding continued plan discussions and
                                                  coordinate call scheduling in connection with same (0.2); call with E. Brady, C.
                                                  Bryant, and R. Bernard regarding potential plan provisions (0.5).
 04/19/23   R. Bernard                       0.60 Call with Barings regarding plan issues.
 Total B320                                  5.10

Total Services                                                                                                        $    58,973.50


Disbursements
      Date       Description                                                        $ Value
      04/06/2023 Online Docket Search                                                  0.50
      04/10/2023 Online Docket Search                                                  0.20
      04/13/2023 Online Docket Search                                                  0.20
      04/13/2023 Online Docket Search                                                  0.20
      04/13/2023 Online Docket Search                                                  0.20
      04/13/2023 Online Docket Search                                                  0.30
      04/13/2023 Online Docket Search                                                  0.20
      04/13/2023 Online Docket Search                                                  0.30
      04/17/2023 Online Docket Search                                                  0.30
      04/17/2023 Online Docket Search                                                  0.90
      04/18/2023 Online Docket Search                                                  0.30
      04/21/2023 Online Docket Search                                                  0.20
      04/24/2023 Online Docket Search                                                  0.20
      04/24/2023 Online Docket Search                                                  0.10
      04/24/2023 Online Docket Search                                                  1.90
      04/26/2023 Online Docket Search                                                  0.20
      04/26/2023 Online Docket Search                                                  2.80
      04/26/2023 Online Docket Search                                                  0.20
             Subtotal Online Docket Search                                                                        9.20

Total Disbursements                                                                                                   $          9.20


Invoice Total                                                                                                         $     58,982.70



Services Summary by Task

Task Code           Description                                                       Hours               $ Value
B110                Case Administration                                                 8.70               7,240.50
B120                Asset Analysis and Recovery                                        12.50              11,111.50
B130                Asset Disposition                                                  11.20              14,566.50
B150                Meetings of and Communications with Creditors                       7.70               7,175.00
B155                Court Hearings                                                      1.10                 745.50
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Task Code            Description                                                 Hours            $ Value
B160                 Fee/Employment Applications                                  12.10            6,966.00
B190                 Other Contested Matters                                       5.00            5,368.00
B310                 Claims Administration and Objections                          0.10               73.50
B320                 Plan and Disclosure Statement                                 5.10            5,727.00
Total                                                                             63.50           58,973.50

Services Summary by Professional

Name                                        Title                       Hours    $ Rate           $ Value
Richard J. Bernard                          Partner                      23.50   1,350.00         31,725.00
Patrick A. Jackson                          Partner                       2.20   1,060.00          2,332.00
Jaclyn Marasco                              Associate                    28.70     735.00         21,094.50
Beth A. Olivere                             Paralegal                     9.10     420.00          3,822.00
Total                                                                   63.50                $    58,973.50
